                         UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

TRAVELERS PROPERTY CASUALTY
COMPANY OF AMERICA, as subrogee of
RIDA Development Corporation,

        Plaintiff,

vs.                                                   Case No.: 6:11-cv-00019-JA-GJK

CHARLOTTE PIPE & FOUNDRY
COMPANY, a foreign corporation,
LUBRIZOL ADVANCED MATERIALS,
INC., a foreign corporation, and THE
LUBRIZOL CORPORATION, a foreign
Corporation,

        Defendants.

           CHARLOTTE PIPE & FOUNDRY’S REPLY MEMORANDUM
      IN FURTHER SUPPORT OF ITS MOTION TO QUASH SUBPOENAS TO
            NON-PARTY EXPERT AND FOR PROTECTIVE ORDER

        Defendant, Charlotte Pipe & Foundry Company (“Charlotte Pipe”), pursuant to the

Court’s Sept. 21, 2011 Order (Dkt.76) and Local Rule 3.01(c), respectfully submits this reply

memorandum in further support of its Motion to Quash Subpoenas to Non-Party Expert and

for Protective Order (Dkt. 74). Plaintiff Travelers’ arguments to justify its attempt to invade

the protected relationship between Charlotte Pipe and its consulting expert, Dr. Duane

Priddy, Sr., Ph.D., fail for at least five reasons.

        First, Charlotte Pipe has provided substantial – and unrebuttable – evidentiary

support for its motion through the sworn factual declarations of Dr. Priddy and Mr. William

Morris. (See Dkts. 74-1 and 74-2). Travelers dismisses these sworn statements of fact as

“conclusory,” implying that Charlotte Pipe should provide more detail.           In so doing,


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Travelers mischaracterizes the declarations and misconstrues the applicable law.

        Far from being “conclusory”, the declarations establish that: (1) all of the matters in

which Dr. Priddy was retained by Charlotte Pipe as an expert were matters in which litigation

was either pending or anticipated; (2) Dr. Priddy testified as an expert witness in some of

those matters and served as a consulting expert in others; and (3) none of the unrelated

matters in which Dr. Priddy was engaged as a testifying expert involved the specific product

at issue in this litigation – i.e., Corzan CPVC Schedule 80 pipe or fittings. (See Dkt. 74-1 at

¶¶ 2-4; Dkt. 74-2 at ¶¶ 3-4).1 These declarations are purely factual and more than sufficient

to invoke the protections of Rule 26(b)(4)(D).

        Even if Travelers had been a party to any of the matters in which Dr. Priddy served as

a non-testifying consulting expert for Charlotte Pipe, Plaintiff would not have been entitled

under Rule 26(b)(4)(D) to the invasive discovery it now seeks.                    In the context of this

unrelated case, there is no reason that Travelers should be permitted to misuse a Rule 45

subpoena to plunder the work product of Charlotte Pipe’s expert in prior unrelated matters.

Indeed, to require Charlotte Pipe to divulge additional information regarding those matters in

which Dr. Priddy served as a consulting expert would essentially force Charlotte Pipe to

reveal the very information that Rule 26(b)(4)(D) protects from disclosure in the first

instance.

        With regard to any matter in which Dr. Priddy served as a testifying expert, Travelers

does not explain how such discovery is relevant to any of the claims or defenses in this
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  Charlotte Pipe manufactures different plastic pipe product lines. The product lines are made from different
types of PVC and CPVC compounds, are manufactured using different tooling, have different dimensions, and
are subject to different ASTM standards. Travelers’ discovery to the defendants only seeks documents relating
to the subject product line, Corzan CPVC Schedule 80. Travelers’ subpoenas to Dr. Priddy, however,
indiscriminately seek all documents relating to work of any kind for Charlotte Pipe on any its products.


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litigation given that those other litigation matters indisputably involved entirely different

product lines. Plaintiff’s effort to obtain these materials is a blatant effort to troll the work

product of Charlotte Pipe’s prior expert and its internal analysis of unrelated claims and

litigation, and cannot be permitted.

       In the event the Court finds that Mr. Morris’ original Declaration does not provide

adequate factual detail, Charlotte Pipe has filed herewith a supplemental declaration by Mr.

Morris (attached hereto as Exhibit A; hereafter referred to as “Morris Supp. Decl.”)

containing as much additional factual detail as can be provided without revealing the

confidential information that Charlotte Pipe is entitled to protect against disclosure.

       Second, Plaintiff’s attempt to draw a semantic distinction between the terms “claims”

and “litigation” in Mr. Morris’ affidavit is both strained and misleading. A “claim” can be

synonymous with and indistinguishable from actual or anticipated litigation. As the Morris

supplemental declaration makes abundantly clear, when Dr. Priddy was retained in

connection with “claims” it was because litigation had been threatened or initiated. (Morris

Supp. Decl. at ¶¶ 4-6, 13-20). Plaintiff’s efforts to suggest that Dr. Priddy’s work product

connected to “claims” is unprotected are therefore without foundation.

       Third, the cases Plaintiff relies upon are inapposite and readily distinguishable

because most do not involve the same issue presented here – i.e., whether a party can use a

Rule 45 subpoena to mine the protected work product of an expert witness previously

engaged in connection with pending or anticipated litigation unrelated to the case at hand.

For example, the principal cases on which Plaintiff relies, Vision I Homeowners Ass’n, Inc. v.

Aspen Specialty Ins. Co., No. 08-81211-Civ., 2009 WL 2482162 (S.D. Fla. 2009) and St. Joe



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Co. v. Liberty Mut. Ins. Co., No. 3:05-CV-1266-J-25MCR, 2007 WL 141282 (M.D. Fla.

2007), did not even involve expert discovery. The courts in those cases merely held that

documents generated by a fact witness – a claims adjuster – in the ordinary course of

business concerning the very insurance claims at issue in the litigation were not protected

work product. See Vision I, 2009 WL 2482162, at *1; St. Joe, 2007 WL 141282, at *2-5

(M.D. Fla. 2007). The only case Travelers cites that involved an analogous scenario actually

rejected the argument Travelers makes here, expressly holding that an affidavit regarding a

non-testifying expert’s work product did not need to include details like the authorship, dates,

and chain of custody of specific documents communicated to the expert. See Toledo Edison

Co. v. GA Techs., Inc., 847 F.2d 335, 341 (6th Cir. 1988).2

         Fourth, as explained in Mr. Morris’ supplemental declaration, the “Product Return

Reports” attached to Travelers’ Memorandum as Exs. B and D do not reflect that Dr. Priddy

was hired by Charlotte Pipe to review product returns in the ordinary course of business.

(Morris Supp. Decl. at ¶¶ 4-6, 13-20). Product Return Reports are prepared by Charlotte

Pipe’s in-house technical staff whenever a user returns a product that is claims is defective;

when litigation appears likely, Charlotte Pipe may then retain Dr. Priddy to provide

independent analysis of the returned product in order to prepare to defend the anticipated

litigation. (Id.) Notably, Charlotte Pipe has produced 62 Product Return Reports in this

matter, only two of which reflected any input from Dr. Priddy. (Id. at ¶ 18.) A routine

product return may become a lawsuit, but that in no way undermines the work product
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  Plaintiff’s attempts to distinguish the cases cited by Charlotte Pipe in its motion are similarly unavailing
because it is abundantly clear in this case – based on the sworn, uncontroverted declarations of record, including
Mr. Morris’ Supplemental Declaration filed herewith – that Dr. Priddy was in fact only ever retained by
Charlotte Pipe as an expert in those prior matters where litigation was either pending or anticipated.




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protection afforded Charlotte Pipe and Dr. Priddy in preparing for that threatened or pending

lawsuit. As the Morris Declaration establishes, Charlotte Pipe has only ever engaged Dr.

Priddy to serve as an expert (whether consulting or testifying) in connection with either a

pending lawsuit or in anticipation of litigation. (Id. at ¶¶ 4-6, 7-13, 20). Otherwise, there is

no justification for incurring outside consulting expert fees. (Id. at ¶¶ 4-6).3

        Fifth, Travelers’ novel contention that there are “exceptional circumstances” that

could overcome the work-product protection for Dr. Priddy’s work is untenable. Travelers

continues to retain the subject pipe and fitting in its possession and can hire its own expert to

examine them. Travelers has thousands of non-work product Charlotte Pipe documents

concerning CPVC Schedule 80.               (Morris Supp. Decl. at ¶ 21).             As such, Travelers’

contention that it is somehow entitled to sift through Charlotte Pipe’s and Dr. Priddy’s work

product concerning other litigation in the hope that it might find something that could be

turned against Charlotte Pipe in this case is without any factual or legal support.

        Based on the foregoing, Charlotte Pipe respectfully requests that the Court grant the

relief requested in Charlotte Pipe’s Motion (Dkt. 74).

Respectfully submitted:
CARLTON FIELDS, P.A.

/s/ Mark A. Smith                                         -and-
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  For the same reasons, Travelers’ contention that Charlotte Pipe should have logged and withheld the
09/18/2009 Product Return Report attached as Ex. B to its Response is specious. The Product Return Report
form is completed routinely by Charlotte Pipe employees. (Morris Supp. Decl. at ¶ 16). This specific Product
Return Report concerned a van stone flange and reflected that Dr. Priddy was consulted to confirm the report’s
conclusion that the flange failed due to heat transfer from an adjacent copper flange. (Id. at ¶¶ 17-20). Other
work product documents prepared by or transmitted to Dr. Priddy would remain entitled to work production
protection.


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                               CERTIFICATE OF SERVICE

       I hereby certify that on September 29, 2011, I electronically filed this Certificate of

Service with the Clerk of Court via the CM/ECF system, which will send a copy of this filing

via electronic mail to all counsel of record.

                                                    /s/ Mark A. Smith
                                                    Attorney




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